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                                                                          ■FILED
                                                                U.S. DISTRICT COURT
                                                                      AUCnST': HP-/
                 IN THE UNITED STATES DISTRICT COURT                  ^          . in . .
                 FOR THE SOUTHERN DISTRICT OF GEORGIA onjonrroc                  AUii.ncr
                            AUGUSTA DIVISION                   Z0i8DEC26 AHII.05

UNITED STATES OF AMERICA               *                          SO. PIS f. Oi" !?A.
                                       ■*


     V.                                *          CR 112-044
                                       ★


DERRIAN R. BROWN                       *




                               ORDER




     Defendant Derrian R. Brown was sentenced by this Court on

October 22, 2012.      Citing Federal Rule of Civil Procedure 60(b),

Defendant has filed a cursory motion, which seeks "an order to

clarify some chaos, mis-computation of [his] sentence."

     First,    the   Federal   Rules        of   Civil    Procedure       have      no

application to criminal cases.     E.g., United States v. Mosavi, 138

F.3d 1365, 1366      (ll^t^ Cir. 1998)      ("Rule 6Q(b) simply does not

provide for relief from judgment in a criminal case . . . .").

Second, with only three exceptions in 18 U.S.C. § 3582(c), a

district court may not modify a sentence once it has been imposed.

See United States v. Phillips, 597 F.3d 1190, 1194-95 (11^^ cir.

2010).    Under the first exception, a court may entertain a motion

filed by the Director of       the Bureau of Prisons under certain

circumstances.     18 U.S.C. § 3582(c)(1)(A).            The second exception

references Rule 35 of the Federal Rules of Criminal Procedure for
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instances     when   correcting    sentence     is   proper.      18   U.S.C.   §

3882(c)(1)(B).       Rule 35 allows modification upon an order from an

appellate court, upon a motion from the Government, or to correct

a computational error within seven days of sentencing.                 Finally,

under the third exception a court may reduce a sentence that was

"based on a sentencing range that has subsequently been lowered by

the Sentencing Commission pursuant to 28 U.S.C. g 944(o)."                      18

U.S.C.    §   3582(c)(2).     Defendant   has    not   asserted    that   he    is

entitled to relief under any of these three exceptions.                Finally,

to the extent that Defendant wishes to challenge the legality of

his sentence, he must file a motion pursuant to 28 U.S.C. § 2255.

See Antonelli v. Warden, U.S.P. Atlanta, 542 F.3d 1348, 1352 n.l

(llth cir. 2008) .


     Upon the foregoing. Defendant's Rule 60(b) motion (doc. 31)

is hereby DENIED.

     ORDER ENTERED at Augusta, Georgia, this ^^^day of December,
2018.




                                          J. RMDAJ^ALL,'CHIEF JUDGE
                                          UNITED~^ATES DISTRICT COURT
                                          .SOUmEl^N DISTRICT OF GEORGIA
